Case 2:05-cr-20250-.]PI\/| Document 22 Filed 07/19/05 Page 1 of 4 l _`Page|D 22

 

UNITED STATES DISTRICT COURT tim BY ________ ...D.C.
WESTERN l`);;':`el:lll€l')li`v(;li?o'lll`ENNESSEE 05 JUL l 9 PH 3: ls
whitler
UNITED STATES OF AMERICA wm GF mi MEMH_B
_v- Case No. 2:05cr20250-003Ml
ERICA MILLER
ORDER SETT|NG

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Office, defense counsel
and the U.S. Attoruey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear for Arraigument in the United States Courthouse and
Federal Building in Courtroom 5 on Wednesday, July 20, 2005 at 10:00 a.m.

ADD|T|ONAL COND|T|ONS OF RELEASE

lu order reasonably to assure the appearance of the defendant and the safety of other persons and the
cornmunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $10,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: $1,000.

0 report as directed by the Pretrial Services Office.
l Maintain or actively seek employment
0 Other: not to be employed in any position with access to other persons' personal identification information

ADV|CE OF PENALTIES AND SANCT|ONS
TO THE DEFENDANT:

AO 199A Order Setting Conditlons of Re|ease ‘ 1 ' _:. 2 Q_

Case 2:05-cr-20250-.]PI\/| Document 22 Filed 07/19/05 Page 2 of 4 Page|D 23

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The Uuited States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
.I udicial Officer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

[:l|]

l f""'""
Date: July 14, 2005 . /
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Ao nasa order setting conditions or Release -3-

Case 2:05-cr-20250-.]PI\/| Document 22 Filed 07/19/05 Page 3 of 4 Page|D 24

‘(OU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a rnisdemeanor. 'I'his sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of iinprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fmed not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that l am aware of the conditions of release. I promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed l am aware

of the penalties and sanctions set forth above.
(6/)? IC° UL LM
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Signature of Defendant

Erica Miller

3282 Aden St.
Memphis, TN 38127
901-3 57-9784

Ao 199/tt order setting conditions of Retaase -2-

 
 

UNITED sTATE DRisTiC COURT - WESTERN DSTCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/iemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

